 Case20-20425-GLT
Case  20-20425-GLT Doc
                    Doc323
                        322-1   Filed
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                                  07/27/21       Entered
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                           DocumentOrder Page
                                           Page   12
                                               1 of of 2

                                                                           FILED
                  IN THE UNITED STATES BANKRUPTCY COURT                    7/27/21 9:28 am
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA                  CLERK
                                                                           U.S. BANKRUPTCY
    IN RE:                                                                 COURT - :'3$

    VIDEOMINING CORPORATION,                       Bankruptcy No. 20-20425-GLT

                 Debtor.                           Chapter 11

    VIDEOMINING CORPORATION,                       Document No.

                 Movant,                                                      322
                                                   Related to Doc. Nos. 308, 310,
                                                   312, 315, 317, 320 & 321
          vs.

    ENTERPRISE BANK, WHITE OAK
    BUSINESS CAPITAL, INC., DILIP HARI,
    RICHARD HIRATA, THE PENNSYLVANIA
    DEPARTMENT OF REVENUE, THE
    INTERNAL REVENUE SERVICE,
    U.S. BANK, N.A. d/b/a U.S. BANK
    EQUIPMENT FINANCE, BRYN MAWR
    EQUIPMENT FINANCE, INC. d/b/a ROYAL
    BANK AMERICA LEASING, LP,
    HUNTINGTON TECHNOLOGY FINANCE,
    INC., KEY EQUIPMENT FINANCE, a
    division of KEYBANK, N.A,
    LEAF CAPITAL FUNDING, LLC,
    ASCENTIUM CAPITAL LLC, ITRIA
    VENTURES LLC, BB&T COMMERCIAL
    EQUIPMENT CAPITAL CORP., d/b/a
    SUSQUEHANNA COMMERCIAL FINANCE,
    INC., ON DECK CAPITAL, INC., DIRECT
    CAPITAL/ CIT.,

                 Respondents.


                                  ORDER OF COURT

          It is hereby ORDERED, ADJUDGED and DECREED that the hearing on

    the Motion for Sale of Personalty and Intellectual Property Assets Free and Clear
 Case20-20425-GLT
Case  20-20425-GLT Doc
                    Doc323
                        322-1   Filed
                            Filed     07/26/21
                                  07/27/21       Entered
                                             Entered      07/26/21
                                                       07/27/21    16:20:48
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                           DocumentOrder Page
                                           Page   22
                                               2 of of 2


    of all Liens, Claims and Encumbrances (ECF #308) (the “Sale Motion”) be, and

    hereby is, continued to September 9, 2021, at 10:30 a.m. in Courtroom A 54th Floor
   U.S. Steel Tower, 600 Grant St., Pittsburgh, PA. Counsel may participate in the hearing
   via Zoom video conference in compliance with Judge Taddonio's Procedures. Counsel
   must register for the hearing by 4 pm one business day before the hearing.


           Debtor’s Counsel shall serve a copy of this Order on the Respondents, all

    Parties that filed a Response to the Sale Motion, all secured creditors whose

    interests may be affected by the relief requested and the 20 largest unsecured

    creditors and shall file a certificate of service reflecting
                                                               g the same.

          July 27, 2021
    Date:__________________                     ________________________________
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                                                           ates Bankruptcy Court Jud
                                                        Stta                     Judge
